                   UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        CHARLOTTE DIVISION

                                  )
CBD INDUSTRIES, LLC,              )
                                  )
                Plaintiff,        )    Civil Action No. ______
                                  )
     v.                           )    JURY TRIAL DEMANDED
                                  )
MAJIK MEDICINE, LLC,              )
                                  )
                Defendant.        )
                                  )

                                EXHIBIT F




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